       Case 1:25-cv-00429-TSC            Document 29      Filed 02/18/25      Page 1 of 10




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW MEXICO, et al.

                 Plaintiffs,

         v.                                                    Civil Action No. 25-cv-429 (TSC)

 ELON MUSK, et al.

                 Defendants.


                          MEMORANDUM OPINION AND ORDER

       Plaintiffs, fourteen states represented by their Attorneys General, have filed an Emergency

Motion for a Temporary Restraining Order (“TRO”) against Elon Musk, the U.S. Department of

Government Efficiency (“DOGE”) Service, U.S. DOGE Service Temporary Organization, and

President Trump. Emergency Mot. for TRO, ECF No. 6 (“Mot.”). Based on the parties’ briefing,

oral argument, and the current record, the court finds that Plaintiffs have not carried their burden

of showing that they will suffer imminent, irreparable harm absent a temporary restraining order,

and therefore Plaintiffs’ motion is DENIED.

                                    I.      BACKGROUND

       On January 20, 2025, President Trump established the “Department of Government

Efficiency” and a subsidiary organization, U.S. DOGE Service Temporary Organization

(collectively, “DOGE”), by Executive Order. Compl. ¶¶ 52–56, ECF No. 2; Exec. Order No.

14,158, 90 Fed. Reg. 8441 (Jan. 20, 2025). Elon Musk directs the work of DOGE personnel but

is formally classified as a “special government employee.” Compl. ¶¶ 59–63; see also Decl. of

Joshua Fisher ¶¶ 3–6, ECF No. 24-1 (classifying Musk as a “non-career Special Government

Employee” and “Senior Advisor to the President”).

                                           Page 1 of 10
        Case 1:25-cv-00429-TSC         Document 29        Filed 02/18/25      Page 2 of 10




        Plaintiffs brought this action for declaratory and injunctive relief, alleging that Musk’s

actions violate the Appointments Clause of the U.S. Constitution because he has not been

nominated by the President and confirmed by the Senate as an “Officer[] of the United States,”

U.S. Const., Art. II, § 2, cl. 2; Compl. ¶¶ 253–60, and that Musk and DOGE lack statutory authority

for their actions, Compl. ¶¶ 261–72. Plaintiffs allege that Musk “exercises virtually unchecked

power across the Executive Branch, making decisions about expenditures, contracts, government

property, regulations, and the very existence of federal agencies.” Id. ¶ 67. They claim that in the

last few weeks, Musk and DOGE Defendants have gained access to “sensitive data, information,

systems, and technological and financial infrastructure across the federal government.” Id. ¶ 68.

Defendants have allegedly used this unfettered access and authority to terminate personnel, ¶¶ 112,

178, 196; place entire agencies on temporary leave, id. ¶¶ 102–04; transfer data to outside servers,

id. ¶¶ 111–114; take over physical office spaces, id. ¶¶ 165–66; and terminate contracts valued in

the hundreds of millions of dollars, id. ¶ 170. Defendants concede that there is no apparent “source

of legal authority granting” Musk or DOGE “the power to order personnel actions” at federal

agencies but do not deny that Defendants are taking such actions. Defs.’ Notice at 1–2, ECF No.

24. 1




1
   Defendants filed a Notice and Declaration by Joshua Fisher, Director of the Office of
Administration, responding to the court’s questions during the February 17, 2025 hearing.
Defendants state: “Neither of the President’s Executive Orders regarding ‘DOGE’ contemplate—
much less furnish—[] authority” to “order personnel actions at any of the agencies” specified.
Defs.’ Notice at 2. Based on the Executive Orders’ plain text, “new career appointment hiring
decisions” at each federal agency “shall be made in consultation with the agency’s DOGE Team
Lead” and agencies “shall not fill any vacancies for career appointments that the DOGE Team
Lead assesses should not be filled, unless the Agency Head determines the positions should be
filled.” Exec. Order No. 14,210, 90 Fed. Reg. 9669 (Feb. 11, 2025). At a minimum, this language
“contemplates” DOGE’s authority over personnel actions. Defense counsel is reminded of their
duty to make truthful representations to the court. Fed. R. Civ. P. 11(b).

                                           Page 2 of 10
         Case 1:25-cv-00429-TSC           Document 29          Filed 02/18/25   Page 3 of 10




          On February 14, 2025, Plaintiffs moved for a TRO to enjoin eleven categories of conduct

by Musk and DOGE. Pls.’ Proposed TRO, ECF No. 6-13. 2 That day, the court held a hearing

during which Plaintiffs significantly narrowed the scope of their requested relief. At the court’s

request, Plaintiffs filed a revised proposed TRO, which asks the court to enjoin Musk and DOGE

Defendants from: (1) accessing, copying, or transferring any data systems in the Office of

Personnel Management, and the Departments of Education, Labor, Health and Human Services,

Energy, Transportation, and Commerce; and (2) terminating or otherwise placing on leave any



2
    Plaintiffs asked the court to enter the following order:
      Mr. Musk, U.S. DOGE Service; U.S. DOGE Service Temporary Organization, along with
      personnel associated with these entities, are [ordered to identify] all ways in which any
      data obtained through unlawful agency access was used, including whether it was used to
      train any algorithmic models or create/obtain derivative data, and destroy any copies or
      any derivative data in Defendants’ possession, custody, or control, and that they are
      temporarily enjoined from:
              (a) ordering any change in the disbursement of public funds by agencies;
              (b) extending offers on behalf of the United States that would bind the
                  government to an appropriation that has not been authorized by law;
              (c) cancelling government contracts;
              (d) disposing of government property;
              (e) ordering the rescission or amendment of regulations;
              (f) making personnel decisions for agency employees;
              (g) taking steps to dismantle agencies created by law or otherwise asserting
                  control over such agencies, including, e.g., placing employees on
                  administrative leave;
              (h) accessing sensitive and confidential agency data, using agency data for
                  other than its authorized purpose;
              (i) altering agency data systems without authorization by law and without
                  taking all appropriate protections against cybersecurity risks; or
              (j) engaging in any other conduct that violates the Appointments Clause or
                  exceeds statutory authority.

Pls.’ Proposed TRO at 1–2, ECF No. 6-13.


                                              Page 3 of 10
         Case 1:25-cv-00429-TSC           Document 29       Filed 02/18/25      Page 4 of 10




officers or employees within those same agencies. Pls.’ Proposed TRO at 1–2, ECF No. 19-1. 3 In

light of the narrowed scope and the parties’ briefing, the court heard further argument on February

17, 2025.

                                    II.    LEGAL STANDARD

          A temporary restraining order is “an extraordinary remedy that should be granted only

when the party seeking relief, by a clear showing, carries the burden of persuasion.” Hulli v.

Mayorkas, 549 F. Supp. 3d 95, 99 (D.D.C. 2021) (quoting Postal Police Off. Ass’n v. U.S. Postal

Serv., 502 F. Supp. 3d 411, 418 (D.D.C. 2020)). As with a preliminary injunction, a party seeking

a TRO must establish “(1) that he is likely to succeed on the merits, (2) that he is likely to suffer

irreparable harm in the absence of preliminary relief; (3) that the balance of equities tips in his

favor; and (4) that an injunction is in the public interest.” Aamer v. Obama, 742 F.3d 1023, 1038




3
    Plaintiffs submitted the following proposed revised order:
      Defendants Elon Musk, U.S. DOGE Service, U.S. DOGE Service Temporary
      Organization, and their agents, officers, and employees, or anyone acting in active concert
      with them, are temporarily restrained from:
          (a) Accessing or continuing to access any data systems and the information and
              code contained within those systems, including but not limited to systems
              containing sensitive or confidential agency and personnel data, at the Office of
              Personnel Management, the Department of Education, the Department of
              Labor, the Department of Health and Human Services, the Department of
              Energy, the Department of Transportation, and the Department of Commerce,
              or any components of any of those agencies, or copying, transferring, or in any
              way disseminating any data from any of the agencies identified in this
              paragraph; and
          (b) Terminating, furloughing, or otherwise placing on involuntary leave—whether
              paid or unpaid—any officers or employees of the federal government working
              within any of the Departments and agencies identified in paragraph (a), other
              than officers or employees of the Defendant entities, or directing any federal
              department or agency, not including the Defendant entities, to take the
              prohibited actions described in this paragraph.
Pls.’ Proposed Order at 1–2, ECF No. 19-1 (footnotes omitted).

                                             Page 4 of 10
       Case 1:25-cv-00429-TSC          Document 29           Filed 02/18/25   Page 5 of 10




(D.C. Cir. 2014) (quoting Sherley v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011)). A court also

considers the “underlying purpose” of a TRO—“preserving the status quo and preventing

irreparable harm” until it has an opportunity to rule on the merits. See Granny Goose Foods, Inc.

v. Bhd. of Teamsters & Auto Truck Drivers Loc. No. 70 of Alameda Cnty., 415 U.S. 423, 439

(1974); Shelley v. Am. Postal Workers Union, 775 F. Supp. 2d 197, 202 (D.D.C. 2011) (“The court

may issue a temporary restraining order (‘TRO’) when a movant is faced with the possibility that

irreparable injury will occur even before the hearing for a preliminary injunction required by

Federal Rule of Civil Procedure 65(a) can be held.”); Elec. Data Sys. Fed. Corp. v. Gen. Servs.

Admin., 629 F. Supp. 350, 352 (D.D.C. 1986) (“In the context of the limited purpose of a temporary

restraining order, the Court's analysis of these factors seeks principally to ensure preservation of

the status quo.”).

                                       III.      ANALYSIS

       The court’s analysis here begins and ends with irreparable harm, “a threshold requirement

in granting temporary injunctive relief.” Beattie v. Barnhart, 663 F. Supp. 2d 5, 8 (D.D.C. 2009)

(citing CityFed Fin. Corp. v. Off. of Thrift Supervision, 58 F.3d 738, 747 (D.C. Cir. 1995)). To

show irreparable harm, the “injury alleged must be ‘both certain and great, actual and not

theoretical, beyond remediation, and of such imminence that there is a clear and present need for

equitable relief.’” Church v. Biden, 573 F. Supp. 3d 118, 138 (D.D.C. 2021) (quoting Mexichem

Specialty Resins, Inc. v. EPA, 787 F.3d 544, 555 (D.C. Cir. 2015)). The “‘possibility of irreparable

harm’ is not enough.” Id. (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)).

A plaintiff must demonstrate “a clear and present need for extraordinary equitable relief to prevent

harm.” Id. (citation omitted). “If a party fails to make a sufficient showing of irreparable injury,

a court may deny a motion for injunctive relief.” Beattie, 663 F. Supp. 2d at 8; Hulli, 549 F. Supp.



                                              Page 5 of 10
       Case 1:25-cv-00429-TSC           Document 29        Filed 02/18/25      Page 6 of 10




3d at 99 (“[M]ovants are barred from receiving such relief should they fail to establish irreparable

injury.”).

        On the record before it, the court cannot conclude that Plaintiffs satisfy the “high standard

for irreparable injury.” Church, 573 F. Supp. 3d at 138 (quoting Chaplaincy of Full Gospel

Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006)). Plaintiffs’ declarations are replete with

attestations that if Musk and DOGE Defendants cancel, pause, or significantly reduce federal

funding or eliminate federal-state contracts, Plaintiff States will suffer extreme financial and

programmatic harm:

        •    “If the actions of [DOGE], led by Elon Musk, cancel federal-state contracts or
             significantly federal funding for/from partner federal agencies, it will impact
             Washington State’s ability to adequately serve and uphold its own legal
             commitments to its residents.” Decl. of Katherine ‘K.D.’ Chapman-See ¶ 5,
             ECF No. 6-2.

        •    “Upon information and belief if [the Department of Labor’s] sensitive data is
             compromised, the State of New Mexico would be vulnerable to embezzlement,
             cyber theft, ransom attacks, and other financial crimes.” Decl. of Sarita Nair
             ¶ 26, ECF No. 6-4.

        •    “If existing programs are canceled or federal workers administering these
             programs are terminated, the state of New Mexico will not be able to receive
             reimbursements.” Decl. of Wayne Propst ¶ 15, ECF No. 6-11.

        •    Connecticut’s Department of Social Services funding is “potentially impacted
             by the actions of DOGE.” Decl. of Jeffrey R. Beckham ¶ 9, ECF No. 6-12.

        The court is aware that DOGE’s unpredictable actions have resulted in considerable

uncertainty and confusion for Plaintiffs and many of their agencies and residents. See, e.g., Decl.

of Ben Henderson ¶ 11, ECF No. 6-7; Decl. of Kimberly Bush-Koleszar ¶¶ 4-6, ECF No. 6-9. But

the “possibility” that Defendants may take actions that irreparably harm Plaintiffs “is not enough.”

See Church, 573 F. Supp. 3d at 138 (citation omitted); Beattie, 663 F. Supp. 2d at 9 (“[F]eared

possibilities fall short of the imminent threat of injury required to grant a TRO.”). It remains

“uncertain” when and how the catalog of state programs that Plaintiffs identify will suffer. Church,

                                            Page 6 of 10
       Case 1:25-cv-00429-TSC           Document 29         Filed 02/18/25      Page 7 of 10




573 F. Supp. 3d at 141.        When litigants have identified specific individuals or programs

imminently targeted by Defendants, courts have issued appropriately tailored TROs. See, e.g.,

Drs. for Am. v. OPM, No. 25-cv-322-JDB, 2025 WL 452707, at *8–11 (D.D.C. Feb. 11, 2025)

(granting TRO prohibiting further removal or modification and compelling reinstatement of CDC,

DHHS, and FDA webpages); AIDS Vaccine Advoc. Coal. v. Dep’t of State, No. 25-cv-400-AHA,

2025 WL 485324, at *4–6 (D.D.C. Feb. 13, 2025) (granting TRO prohibiting Defendants from

implementing the “blanket suspension of foreign aid funding,” but refusing to enjoin specific

personnel or operational decisions absent “evidence of non-compliance” with TRO). Conversely,

when litigants have failed to show imminent harm, courts in this district have refused to issue

emergency TROs. See, e.g., Mem. Op. & Order at 11, 13, Univ. of Cal. Student Assoc. v. Carter,

No. 25-cv-354-RDM (D.D.C. Feb. 17, 2025), ECF No. 20 (denying TRO motion because Plaintiff

failed to show “mere ‘access’ to personal data by government employees who are not formally

authorized to view it, without more, creates an irreparable injury”); Doe v. OPM, No. 25-cv-234-

RDM, 2025 WL 513268, at *7 (D.D.C. Feb. 17, 2025) (“Plaintiffs have failed to demonstrate that

there is a significant risk that their .gov email addresses will be stolen or publicly disclosed in the

next 14 days.”).

       Plaintiffs ask the court to take judicial notice of widespread media reports that DOGE has

taken or will soon take certain actions, such as mass terminations. But these reports cannot

substitute for “specific facts in an affidavit or a verified complaint” that “clearly show that

immediate and irreparable injury, loss, or damage will result.” Fed. R. Civ. P. 65(b)(1)(A); see

also Gomez v. Kelly, 237 F. Supp. 3d 13, 14 (D.D.C. 2017); cf. AIDS Vaccine Advoc. Coal., 2025

WL 485324, at *3–4. The court may take judicial notice of news articles for their existence, but

not for the truth of the statements asserted therein. See, e.g., Hourani v. Psybersolutions, 164 F.



                                            Page 7 of 10
       Case 1:25-cv-00429-TSC          Document 29        Filed 02/18/25      Page 8 of 10




Supp. 3d 128, 132 n.1 (D.D.C. 2016); cf. Banks v. Booth, 459 F. Supp. 3d 143, 149, 154 (D.D.C.

2020) (refusing to consider counsel’s assertions during preliminary injunction oral argument

absent corroborating record evidence). And even if the court could appropriately consider the

news reports in conjunction with Defendants’ vague representation that “a select set of agencies

in fact terminated a number of employees at the end of last week,” Defs.’ Notice at 1, that would

not cure the motion’s deficiencies. Terminating thousands of federal employees may cause

extreme harm to the individual employees, and potentially the institution writ large. See, e.g.,

Dellinger v. Bessent, No. 25-cv-385-ABJ, 2025 WL 471022, at *10–11 (D.D.C. Feb. 12, 2025);

Am. Foreign Serv. Ass’n v. Trump, No. 25-cv-352-CJN, 2025 WL 435415, at *2 (D.D.C. Feb. 7,

2025). But “harm that might befall unnamed third parties does not satisfy the irreparable harm

requirement in the context of emergency injunctive relief, which must instead be connected

specifically to the parties before the Court.” Church, 573 F. Supp. 3d at 146 (citations omitted).

Plaintiffs have not adequately linked Defendants’ actions to imminent harm to Plaintiff States in

particular.

        That said, Plaintiffs raise a colorable Appointments Clause claim with serious implications.

Musk has not been nominated by the President nor confirmed by the U.S. Senate, as

constitutionally required for officers who exercise “significant authority pursuant to the laws of

the United States.” United States v. Arthrex, Inc., 594 U.S. 1, 12 (2021) (citation omitted); Compl.

¶ 64; TRO Mot. Hr’g Tr. 29:07–22 (Feb. 17, 2025), ECF No. 27. Bypassing this “significant

structural safeguard[] of the constitutional scheme,” Edmond v. United States, 520 U.S. 651, 659

(1997), Musk has rapidly taken steps to fundamentally reshape the Executive Branch, see Compl.

¶¶ 66–76; Pls.’ Reply at 1–3, ECF No. 21. Even Defendants concede there is no apparent “source

of legal authority granting [DOGE] the power” to take some of the actions challenged here. See



                                           Page 8 of 10
       Case 1:25-cv-00429-TSC           Document 29        Filed 02/18/25      Page 9 of 10




Defs.’ Notice at 2. Accepting Plaintiffs’ allegations as true, Defendants’ actions are thus precisely

the “Executive abuses” that the Appointments Clause seeks to prevent. Edmond, 520 U.S. at 659.

But even a strong merits argument cannot secure a temporary restraining order at this juncture. 4

       Plaintiffs legitimately call into question what appears to be the unchecked authority of an

unelected individual and an entity that was not created by Congress and over which it has no

oversight. In these circumstances, it must be indisputable that this court acts within the bounds of

its authority. Accordingly, it cannot issue a TRO, especially one as wide-ranging as Plaintiffs

request, without clear evidence of imminent, irreparable harm to these Plaintiffs. The current

record does not meet that standard.




4
  In some circumstances, constitutional violations may constitute irreparable injury. See Mills v.
District of Columbia, 571 F.3d 1304, 1312 (D.C. Cir. 2009). Plaintiffs have not identified, and the
court is unaware of, any case granting a TRO based on an Appointments Clause violation. And
the D.C. Circuit has recently held that at least certain Appointments Clause violations are “not,
without more, an injury that necessitates preliminary injunctive relief.” Alpine Sec. Corp. v.
FINRA, 121 F.4th 1314, 1332–33 (D.C. Cir. 2024) (collecting cases).

                                           Page 9 of 10
      Case 1:25-cv-00429-TSC           Document 29        Filed 02/18/25     Page 10 of 10




                                         CONCLUSION

       For the reasons explained, it is hereby ORDERED that Plaintiffs’ Emergency Motion for

a Temporary Restraining Order is DENIED. It is further ORDERED that the parties shall meet

and confer regarding further proceedings. If Plaintiffs intend to move for a preliminary injunction,

the parties shall file a proposed briefing schedule, and state their positions on consolidating the

merits with the preliminary injunction briefing, by 5:00 PM on February 19, 2025.



Date: February 18, 2025

                                                  Tanya S. Chutkan
                                                  TANYA S. CHUTKAN
                                                  United States District Judge




                                          Page 10 of 10
